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 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 BRETT R. PRIMACK,                                          Case No.: 2:18-cv-00561-APG-NJK

 4           Plaintiff                                      Order Rejecting Joint Pretrial Order

 5 v.

 6 OHIO SECURITY INSURANCE
   COMPANY,
 7
        Defendant
 8

 9         The parties’ proposed pretrial order does not comply with this court’s Local Rules for a

10 variety of reasons.

11         The plaintiff lists 69 mostly vague descriptions of exhibits it intends to offer, identifying

12 many of them as “records,” “costs estimate,” “correspondence between the parties,” and “All

13 documents and their attachments filed by any Party to this litigation.” ECF No. 62 at 7-11. Local

14 Rule 16-3(b)(8) requires parties to list their specific trial exhibits, rather than vaguely referring to

15 general categories or “all documents.” Vague, broad designations make it impossible for the

16 other party to know which document is being offered so a proper objection can be made. That is

17 proven here by the fact that neither party states specific grounds for any objections to the other

18 side’s exhibits, as required by Local Rule 16-3(b)(8)(B).

19         The defendant properly identified its exhibits by Bates-stamp numbers. However, the

20 defendant improperly designates the entirety of 12 deposition transcripts as exhibits. Id. at 6-7.

21 Deposition transcripts are typically not offered into evidence as exhibits, but are read into the

22 record as testimony. And Local Rule 16-3(b)(10) requires parties to “designat[e] the portions of

23
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 1 the deposition to be offered” so the other party can properly object to the specific testimony. The

 2 defendant did not designate page and line numbers as required.

 3         The parties stipulate into evidence the “Ohio Security Insurance Company policy, Bates

 4 LMIC000001-85.” Id. at 3. Yet the defendant lists as a separate exhibit a Liberty Mutual

 5 Insurance Company Policy No. BAS (15) 55530738 with the same Bates numbers as the Ohio

 6 Security policy: LMIC000001-000085. Id. And the plaintiff objects to this document despite it

 7 apparently being a stipulated exhibit. The parties need to clarify this exhibit.

 8         Next, the plaintiff files one objection to all 54 exhibits listed by the defendant: “Plaintiff

 9 objects to the foregoing as inadmissible due to lack of relevance, prejudice, undue waste of time

10 and lack of foundation.” Id. at 7. The defendant similarly files one objection to all 69 of the

11 plaintiff’s exhibits: “Defendant objects to the foregoing as inadmissible due to lack of

12 foundation, hearsay, relevance, improper opinions, and due to unfair prejudice and lack of timely

13 and proper production.” Id. at 11. Local Rule 16-3(b)(8) requires the parties to identify the

14 appropriate objection to each exhibit. This helps streamline resolution of the objection at or

15 before trial. General objections to all proposed exhibits are unhelpful.

16         The plaintiff identifies 45 witnesses to call at trial and the defendant identifies 30

17 witnesses. Yet the parties state that the trial will take only four to five days. That is nearly

18 impossible. The parties apparently have not seriously considered which witnesses they intend to

19 call at trial, but instead have listed everyone somehow connected to this case.

20         The only remaining claim is for breach of contract. The parties clearly have not seriously

21 considered the evidence and witnesses they need to offer at trial. Instead, they have simply listed

22 nearly every document and witness identified through discovery. Local Rule 16-3 requires the

23 parties to personally discuss these and other issues. The requirements in Local Rules 16-3 and



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 1 16-4 are designed to streamline the trial preparation and presentation, and to foster settlement.

 2 The parties cannot simply wait to make trial decisions until the eve of trial. If they do, they

 3 cannot fully participate in settlement discussions. It is apparent from the proposed Joint Pretrial

 4 Order that the parties either ignored Local Rule 16-3, or did not properly conduct the required

 5 conference in the spirit of the rule.

 6         I ORDER that the parties’ Joint Pretrial Order (ECF No. 62) is REJECTED. The

 7 parties shall personally confer as required in Local Rule 16-3, and submit a Joint Pretrial Order

 8 that complies with Local Rules 16-3 and 16-4 by December 9, 2020.

 9         DATED this 9th day of November, 2020.

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11                                                       ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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